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                                                 May 15, 2025



VIA ECF
The Honorable Gregory H. Woods
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

                  Re:      United States v. S. Kenneth Leech, II, 24 Cr. 658 (GHW)

Dear Judge Woods:

       We represent S. Kenneth Leech, the defendant in the above-captioned case. We write in
advance of the status conference scheduled for May 19, 2025 to address the status of the
production and review of discovery materials as well as scheduling matters.

        At Mr. Leech’s initial appearance on December 16, 2024, the government stated that it
expected to produce approximately 500,000 documents which it had received from third parties
within four to six weeks and that it would produce additional documents that it received from
third parties on a rolling basis. Tr. at 10–12.1 Based on the government’s anticipated production
schedule, we asked the Court to schedule a conference in May 2025.

        The Court scheduled a conference for May 19, 2025, and stated that it expected counsel
to be prepared to discuss any motions that it may wish to bring and that the Court and parties
could discuss “a motion schedule and a trial schedule, if appropriate.” Tr. at 14–15. The Court
also noted that “[i]f it turns out not to be sufficient time, please feel free to write me in
accordance with my individual rules of practice” and that the Court would be “happy to consider
an application to adjourn the date if the parties need additional time.” Tr. at 15.




1
 All transcript citations refer to transcript from Mr. Leech’s initial appearance held on December 16, 2024, which is
available on the docket of this matter at ECF 18.
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        Since the December 16, 2024 conference, the government has produced approximately
1.3 terabytes of data (roughly 479,000 documents).2 On March 19, 2025, the government
informed us that a third party anticipated making an additional production to the government of
approximately 150,000 documents, though the timing of that production was unclear. Yesterday,
the government informed us that this production of documents will not be complete until the end
of June, and that it expects to receive production of another 40,000 to 45,000 documents by the
end of July 2025, after which the material will be produced to the defense.

        We have spoken with the prosecutors regarding whether to make an application to
adjourn the upcoming status conference. The government advised us that it wishes to proceed
with the conference. In our view, given the volume of discovery materials already produced, the
anticipated additional productions, and the complex nature of this case, we believe it is
premature to set a motion schedule or a trial date at this time. Rather, at the May 19 conference,
we will ask the Court to schedule another status conference for September, at which time we
expect we will have received substantially all of the discovery and be in a position to discuss
scheduling of trial and motions.

                                                            Respectfully submitted,

                                                            /s/ Jonathan S. Sack
                                                            Jonathan S. Sack
                                                            Jeremy H. Temkin


cc:     AUSA Peter J. Davis (via ECF)
        AUSA Thomas S. Burnett (via ECF)




2
 The government produced just over 193,000 documents in December 2024, approximately 260,000 documents in
January 2025, approximately 24,000 documents in March 2025, and approximately 4,000 documents in April 2025.
On May 14, 2025, the government informed us that another production has been prepared and will be sent to us via
FedEx. We estimate that the productions to date consist of over two million pages.
